Case 2:13-cr-06070-SAB ECFNo.11 filed 12/05/13. PagelD.11 Pagelof1
Case 2:13-mj-04363-JPH Document2 Filed 12/02/13

AO 442 (Rev. 01/09) Arrest Warrant

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UNITED STATES DISTRICT COURT

for the

Eastern District of Washington

United States of America )
Vv. )
) Case No. MJ-13-4363-1
KENNY ROWELL )
Defendant )
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) KENNY ROWELL
who is accused of an offense or violation based on the following document filed with the court:

O Indictment O Superseding Indictment O Information © Superseding Information of Complaint
© Probation Violation Petition O Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Distribution of a Controlled Substance in violation of Title 21, United States Code, Section B41(a)(1).

Date: io| afi CA<P 4
/

| Issuing officer's signature
City and state: _Yakima, WA JAMES P. HUTTON, U.S. Magistrate Judge
7 Printed name and title
USA requests no bail
Return
This warrant We received on fps) | | 2 / | A , and the person was arrested on (date) |? /4 | ) 2
at (city and state) p (AINLA ne LAVt ro = ++
Arrested within the E/WA
se oy) .

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RECEIVER Sic2: A LU WAKNA Mia LUINS

VW BEY Printed ve and title
DEC -2203 J
CLERK, US DISTRICT COURT

YAKIMA, WASHINGTON

